                  Case 6:19-cv-00065-NKM Document 2 Filed 09/13/19 Page 1 of 5 Pageid#: 7
N- .---v-:
& 1.
#
       ProSe1r
             xRev.12/165
                       )$*.2omplaintforaCivilCase                                                               .   .




                                                                                                                    09/13/2019
                                              U NITED STATES D ISTRICT C OURT
                                                                    fortbe
                                                                   Districtof '

                                                                          Division


                                                                               CaseNo.     6:19cv00065
                                                          N t/ à)
                                                          ,

             .<                   e           >.                                           (tobeslledinbytheClerk'
                                                                                                                 sOJ/MeJ
             t 3            -0-
                                  .-
                                       5Lo lJ-1t.
                                                p             n..l1
                                  Plainttls)                          )
       (WritethefullnalneofeachplainttwhofsWlfngthîscomplaint.        )        JuryTrial:(checkone)       Yes FRNO
       Ifthenameso fallthep/t7/rl/(#.
                                    kcannotAtftlthespaceaboveb
       pleasewrite'fçeeattache
                       -     'd''fathespaceandattachanadditional      )
       pagewithtlwfullIistLfnames.   )                                )
                                       -V..




                              De?ndantls)
       ('
        ll/r//ethehdlnameofeach#e./J?;#J?!/whoisbeing.sued.Jf//le
       namesofallthedejèndantscannotstfl;thespaceabove,please'
       write 'f
              â'
               ecattaclwd''ïn thespaceandattachan additionalpage
       Mz//:thefullJfxfofnalnes) '


                                                    COMPLMNTFORACIVD                                jo î - ,'h10 -
                                                                                                    '




                                                                                         qzcszvt
                                                                                               a god                               . )<
       1.         Tl,eIurueston iscomplaint                                              s -t-oc.
                                                                                                zrlc-
                                                                                                    ,,
                                                                                                     jir  .



                  A. T
                     Plewaintists)                                                       co)s
                                                                                            v-sGi
                                                                                               'ncaktwst ,r
                                                                                                          ).) g)-)<
                                                                                                                  jr
                                                                                                                   ol.
                                                                                                                     e
                                                                                                                     -.asn
                            rovidetheihformationbelow foreachplaintiffnamedinthecomplaint.Attach addltionalpagesi
                           needed.
                                       x--                         .w ,c
                                                                   l       .
                                                                                   /J.=Jco/?
                                                                                           -o-qoy$
                                                                                                 '.$c
                                                                                                    -Awy
                                                                                                      aq- l
                                                                                                          x
                                       streetAddress              Z/c,1f) ö/./'-
                                                                               g.
                                       CityandCounty               L          &
                                       StateandzipCode                f /)                                      et             w
                                       Telepho-nexumber               - qll- ,5 >'
                                                                                 -   .                  tne.o ye & r 13                lo
                                       E-mailAddress          .

                  B                                    sjs a wmyxs x s , s a                   (j       . jspm
                   .       TheDefendantts)                                                 .



                           Providetheinform ation bçlow foreach defendantnamed inthe complaint,whetherthedefendantisan
                           individual agovernmeétage'              ization, oracor'poration. Foran individualdefendant,
                                                      ncy, an organ'
                           includetheperson'sjobortitle(Lflmown).Attachadditionalpagesifneeded.

                                                                                                                           Page1of 5
                                         Case 6:19-cv-00065-NKM Document 2 Filed 09/13/19 Page 2 of 5 Pageid#: 8


                ProSe1 Rev.12/16 Com laintf0raCivilCase

                                                                             '
                                                                                     J
                                                                                     .
                                                   .      -.             ,.                           :


                                                               xame                                       )k )c,
                                                                                                          '    l .
                                                                                                                 c.-'
                                                                                                                    --ul)/)- ? L G-ojl
                                                                                                                    à
                                                               JobôrTitle(êknown) p iy% --                               ''        .'-r
                                                               StreetAddress                             oq ft/t                          o l.
                                                                                                                                             /)           /4. e.
                                                               CityandCounty                          4.
                                                                                                       $   ' o
                                                               Stateandzip Code                                 z,
                                                               TelephoneNumber                                         - SVT'
                                                               E-mailAddress(vknown)                                A.2 j4
               e-
                  T                                œ
                                                                        A
                                                                        ' .


           0 $ KUGG                                                                          20 , 4                  C        ooog-         i
                                     .
                                         -'                    Job orTitle (nknown)                       fc
                                                                                                           .açp Lnt0rjo z s-
                                                                                                                           ooïx se-a-zts'
                                                                                                                                        cz-.

                                                               StreetAddress                              ; Q+h -Y-
                                                               City and County                            /              c-         vc
                                     '                         State andZip'côde                                        'w ../.)
                                                               TelephoneNumbe d.    Io .-             k'y?ss- g'
                                -
                                                               E-mailAddress(êknown)                               JU
                                     ï
                                     x
                                       k                            '
          x
 1                      tsD
                        -
                                                                                 -
                                                                                                                    s-fs'V r/ t'Q 'ty-.               -
                                                                                                                                                                           .c

>Y7                             j                              Name                                   V-O V Q .N --              om
     c                                   f'klzGsrok-joborTitle(vknown)                                 ( 'vF- ov k.r                 fV*k
                                                               StreetAddress

'-ào
   - kn p'licj              .
                                                       . /a CityandCounty                                  L                          ua
                            .                          -& .,,
                                                            -. StateandZipCode
                                                               TeleplzoneNum ber                                            .
                                                                                                                                                 ez- x             +
                                                               E-niailAddress(êknown)                      .Z
                                                                                                          cK                                              .            .

                                                               .-                            '

         ...        .           .-       ..w               x
                                               '                         '       .   '
     .
                            .        .                                                   N


     -
                                                                    am e
                                                               Job orTitle(êknown)
                                                                                                          O
                                                                                                          fW s.. pwv--t-
                                                                                                                o
                                                                                                               ..
                                                                                                                                          t- '
                                                                                                                                                                                -
                                                               StreetAddress
                                                               City and County                            /
                                                               Stateand Zip Code                          '$y LX.   .
                                                                                                               <    =

                                                               Telephonexumber z/-yj-                                              .-t-/ér -- j-s .


                                ''
                                 h
                                 'x1                           Em ailAddress(vknown)
                                                                    -




                                  G,x-                                     zoobs yo/o   g.vco -r3$-,1-.G                                              ,

                                ï.                                      d:s           .       >,y.

                                                                                                         page2ors
                                                                        Cia
                                                                          :
                                                                            v
                  Case 6:19-cv-00065-NKM Document 2 Filed 09/13/19 Page 3 of 5 Pageid#: 9
l.-.'
'
g*

        ProSe1(R(
                n'.12/16)ComplaintforaCivilCase

        II.     BasisforJurisdiction

                Federalcourtsarecourtsoflimitedjurisdiction(limitedpower).Ginerally,onlytwotypesofcasescanbe
                lleard illfederalcottl'
                                      t:casesinvolving a federalquestion and casesinvolving diversity ofcitizenship ofthe
                paities.Under28U.S.C.j.1331,acasearisingundertheUnitedStatesConstittttionorfederallawsortreaties
                isafederalquestioncase.Under28U.S.C.j1332,acaseinwhichacitizenofoneStatesuesacitizen of
                anotherStateornation andtheamountatstakeismo.rethan $75,000 isadiversity ofcitizenship case.In a
                diversityofcitizenshipcase,nodefendantmaybeacitizenofthesameSlateasanyplaintiff.
                W hatisthebuisforfederalcourtjurisdiction? (checkallthattz
                                                                         lwj/
                                                                            i
                          Federal'question                                Diversity ofcitizenship


                Fillouttheparagraphsin this.sectionthatapply to thiscmse.

                A.       IftheBasisforJurisdictionIsaFederalQuestion
                         Listthespecifscfederalstatutes,federaltreaties,and/orprovisionsoftheUnited StatesCorlstitutionthat
                         areatissue in thiscase.                                  -

                                                                                                                         w               r
                                                                                                                    (3r.vœckla
                    .: . rm
                          v
                                    w m vtonsnlzv
                                                -kon.I7iq. S SF
                                                              '


                                                              .
                                                               e-C-/''&V'
                                                                        -/'V VAoCV
                                                                       . ,       x-.j..a
                B.       IftheBasis-ro'rzurisdiction I.s   versi
                                                       ' -oi
                                                               v orcitizenship
                                                                  -
                                                                                                                @..nJ.A-'..co'
                                                                                                                             iç',
                                                                                                                                %                       èxx.c-e..
                                                                                                                                                                g
                                  ThePlaintiffts)
                                                             pp                                                     Ruekcx
                                                                                                                         Ylccxt.e-
                                           lftheplaintiffisan ipdividual                            1
                                                                                                                    .
                                                                      .

                                           Theplaintiff,(n&Te) -                           h    jIê-jl
                                                                                                     .
                                                                                                     r '
                                                                                                       -j
                                                                                                        -tos);- j%-Ulkz-i
                                                                                                                        ssa
                                                                                                                          .c
                                           stateof(name)                       -       .
                                                                                               ..
                                                                                                            -
                                                                                                              1.?
                                                                                                                         '-i
                                                                                                                           .t
                                                                                                                            iz/e)n
                                                                                                                                 .o
                                                                                                                                  fthe

                                  b.       Iftheplaintiffj.
                                          ..
                                                          s           oratlon &)Y 'X
                                                                                   4cY''-
                                           Theplaintiff,(name)             '                        uee'
                                                                                                       ezx                                      ,is'                 ---.
                                                                                                                              .rc-   -
                                           underthelaw o e tate. name)           )da
                                                                                 -                      .                                                        ,

                                           and hasit(
                                                    s. ri
                                                        ncipalplaceof usinessinthes ateof(name)
                                                                                           .                .
                                                                      -
                                               < ,   :                                                          s
                                                         .
                                                              g s ,, y
                                                              q                    .                ,y .y
                                  (Ifmorethanoneplaintlfis?;(= c#inthecomplaint,attachanadditionalpageprovidîng the
                                  sameinforlnationforeachadditionalplaint6 )
                                  TheDefendantts)
                                  a.       lfthe defendantisan individual
                                           Thedefendant, (name)                                                                                 ,isacitizen of
                                           the State of(name)                                                                                . Orisacitizen of
                                           (foreignlitz/ftpn.
                                                            l   .- '                                                 .

                                                                                                                                                          Page3of5
         Case 6:19-cv-00065-NKM Document 2 Filed 09/13/19 Page 4 of 5 Pageid#: 10



Prose1(Rev.12/16)CùmplaintforaCivilCase                                            .      ..            -----


                          b.       lfthe defendantis.acom oration
                                   The defendaht, (name)                                       ,isincorporated undçr
                                   thelawsofiheStateof(nqme)                                            ,andhasits
                                   principalplaceofbusinessintheStateof(nanïe)                         '             .
                                   Orisincomoratedunderthelawsof(foreignnation)                            '         ,
                                   and hasitsprincipalplaceofbusinessin (name)

                          (Ifmore.thanonedefendantisnamedfathecomplaint,attachanadditionalpageproviding the
                          sameinform%tionforeachadditionaldefendant)'
                 3.       TheAm ountin Controversy

                          Theam ountin controversy-theam ounttheplaintiffclailhsthedefendantowesortheamountat
                          stak- ism otethan $75,000,notcounting interestand costsofcoult because(explainl,




H1.      Statem entofClaim

         W rite ashortandplainstatementofthe claim. Donotm akelegalarguments. Stateasbriefly aspossiblethe
         factsshowing thateach plaintiffisentitled to the dam agesorotherreliefsought. Stqtehow each defendantwas
         involved andwhateach defendantdidthatcausedtheplaintiffharm orviolatùdtheplaintiffsrights,including
         thedatesand placesofthatinvolvementorconduct.lfmorethan oneclaim isasserted,numbereach claim and
         write ashortandplain statementofeach claim in aseparateparar aph.Attach additional agesif eeded.

       .rDr
          n p
            c.)x-
                l/
                 e
       .& kc-kcut-
           ..
                  -
                  '
                 t.z
                   u  I
                      ço-ro% snj    on
                  scxyevevçotx-l .1. ,./
                                       /  j    '
                                     -# s-?w ess/.
                                                ohe(J
       czpass ro                          rge-wxvhx aw-i-                        61.
                                                                                   5 cxs ,
                                                                                         x#                       vcv.e-
       fxJDTrlcxvxxvadsL3e.)                          p'-z-              ?co ; 'e-t
                                                                                  # Q-                             c<-S
                      rrm vL.vm ozo
w  .
         uelie,
                                           -
                                               (o.z- lzj -a
                                                          a/neyx > czyn
                                                                                  xja oç eo
                                                                                                           dxw o..

         Statebriefly and precisely whatdamagesorotherrelieftheplaintiffasksthecourtto order.Do notmakelegal
         arguments.lndudeany basisforclaiming thatthewrongsalleged arecontinuing atthepresenttime. Include
         theamountsofany actualdamagesclaimedfortheactsallegedandthebasisforthesenmounts.Includea118
         punitiveorexemplary dam agesclaimed,thenmounts,andthereasonsyou claim you are entitled to actualbr
         punitivemoney dnmages.                                     '




                                                                                                               Page4of5
               Case 6:19-cv-00065-NKM Document 2 Filed 09/13/19 Page 5 of 5 Pageid#: 11
*'
tïzez N -
<



      ProSe1(Rev.12/16)ComplaintforaCivilCase                                         .'     .




      V.      Certincation and Closing

              UndirFederalRule ofCivilProcedure 11,by sigriing below,Icertify to thebestofmy knowledge,infonnation,
              andbeliefthatthiscomplaint:(1)isnotbeingpresentedforanimproperpurpose,suchmstoharass,èause
              urmecessarydelay,orneedlesslyinireasethecostoflitigation;(2)issupportedby existinglaw orby a
              nonfi
                  -ivolousargumentforextending,modifying,orreversingexistinglaw;(3)thefacmalcontentionshave
              evidentiary supportor,ifspecitkally so identified,willlikely haveevidehtial'
                                                                                         y supportafterareuonable
              opportunityforfurtherinvestigationordiscovery;and(4)thecomplaintothenvisecomplieswiththe
              requirementsofRule 11.

              A.       ForPartiesW ithoutan Attorney

                       lagreeto providetheClerk'sOftke with any changesto my addresswhere case-related papersmay be
                       derved. 1undefstu d thatniy failureto kyep acurrentaddiesson filew ith theClèrk'sOfficem ay result
                       in $hedism issalofmy case.

                       Dateofsigning:


                       SignattzreofPlaintiff
                       Printed Nnme ofPlaintiff

               B.      ForAttorneys

                       Dateofsigning'
                                    .


                       SignatureofAttorney
                       Printed Nam eofAttorney
                       BarNumber
                       Nam eofLaw Firm
                        StreetAddress
                        Stateand.
                                zip Code
                       TelephoneNum ber
                       E-m ailAddress




                                                                                                                 Page5of 5
